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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                :
 UNITED STATES OF AMERICA,                                      :
                                              Plaintiff,        :
                                                                :       19 Cr. 366 (LGS)
                            -against-                           :
                                                                :            ORDER
                                                                :
 STEPHEN M. CALK,                                               :
                                              Defendant.        :
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LORNA G. SCHOFIELD, District Judge:

        WHEREAS, pursuant to the Court’s July 2, 2020, Order, the parties shall file by October 30,

2020, a joint statement as provided in the Court’s Individual Rule H.1, a joint proposed voir dire,

joint proposed requests to charge and a joint proposed verdict sheet (Dkt. No. 93);

        WHEREAS, pursuant to the Court’s July 2, 2020, Order, a final pretrial conference is

scheduled for November 20, 2020, (Dkt. No. 93);

        WHEREAS, pursuant to the Court’s September 4, 2020, Order, trial is scheduled for

December 2, 2020, at 9:45 a.m. (Dkt. No. 99);

        WHEREAS, on October 14, 2020, the Government filed a letter requesting an adjournment

of the December 2, 2020, trial date (Dkt. No. 112);

        WHEREAS, a status conference was held on October 15, 2020. For the reasons stated at the

conference, it is hereby

        ORDERED that the parties’ deadline to file a joint statement as provided in the Court’s

Individual Rule H.1, a joint proposed voir dire, joint proposed requests to charge and a joint

proposed verdict sheet, in each case noting any disagreements between the parties, is extended to

January 15, 2021. It is further
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       ORDERED that the final pretrial conference scheduled for November 20, 2020, is

ADJOURNED to February 5, 2021, at 11:00 a.m. in Courtroom 1106 of the Thurgood Marshall

Courthouse, 40 Foley Square, New York, New York 1007. It is further

       ORDERED that the trial scheduled for December 2, 2020, is ADJOURNED to February

16, 2021, at 9:45 a.m. (not February 8 as discussed at the conference). The parties are remined that

any discussions regarding the possible disposition of this matter will not stay this schedule.

       The Clerk of Court is respectfully directed to close Docket No. 112.

Dated: October 16, 2020
       New York, New York




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